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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-20450-CR-SCOLA

  UNITED STATES OF AMERICA

                 v.

  ALEX NAIN SAAB MORAN,

              Defendant.
  _________________________________________/

                     UNOPPOSED MOTION FOR A PROTECTIVE
               ORDER TO ENSURE COMPLIANCE WITH LOCAL RULE 77.2

         Pursuant to the Local Rules of the United States District Court for the Southern District of

  Florida, the United States of America files this motion for a protective order to ensure compliance

  with Local Rule 77.2. The United States has conferred with counsel for the defendant, who has

  confirmed that he has no objection to the relief sought herein.

         On July 25, 2019, a federal grand jury returned an indictment charging the Defendant,

  ALEX NAIN SAAB MORAN, with one count of conspiracy to commit money laundering and

  seven substantive counts of money laundering (DE 1). On June 12, 2020, SAAB MORAN was

  detained in the Republic of Cabo Verde at the request of the United States. SAAB MORAN was

  extradited to the United States on October 16, 2021. On October 18, 2021, SAAB MORAN made

  his initial appearance via Zoom. He was arraigned on November 15, 2021. He has since also

  appeared before this Court for two subsequent status conferences on December 6, 2021, and

  February 16, 2022.

         Throughout this case, there has been significant media interest in the matter, both here in

  the Southern District of Florida and abroad. Since his arrest, SAAB MORAN’s extradition and

  prosecution has been covered with articles and/or commentary by numerous media outlets,
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  including the New York Times, the Washington Post, the Miami Herald, the Wall Street Journal,

  CNN, Reuters, the Associated Press, Al Jazeera, Bloomberg, Barron’s, NBC News, the Guardian,

  the BBC, and U.S. News & World Report, along with multiple outlets in Latin America. See e.g.,

  Ultima Noticias, Alex Saab’s Defense: Case Against his Diplomatic Immunity is Weak, ULTIMA

  NOTICIAS (January 13, 2022), https://en.ultimasnoticias.com.ve/noticias/politica/defensa-de-alex-

  saab-caso-contra-su-inmunidad-diplomatica-es-debil/; Brian Ellsworth, Venezuela’s Maduro Ally

  Saab Pleads Not Guilty to U.S. Money Laundering Charge, REUTERS (Nov. 15, 2021),

  https://www.reuters.com/world/americas/venezuelas-maduro-ally-saab-pleads-not-guilty-us-

  money-laundering-charge-2021-11-15/; teleSUR, Special Interview with Alex Saab’s Attorney,

  YOUTUBE (November 5, 2021), https://www.youtube.com/watch?v=qKF7Ewu5YMw&t=383s;

  Agence France Presse, U.S. Judge Dismisses Most Money-laundering Charges Against Maduro

  Ally Saab, BARRON’S (Nov. 1, 2021), https://www.barrons.com/news/us-judge-dismisses-most-

  money-laundering-charges-against-maduro-ally-saab-01635798907;            Julie   Turkewitz,     U.S.

  Extradictes Key Financial Ally of Venezuela’s President, Inciting Retaliation, N.Y. TIMES (Oct.

  16,   2021),   https://www.nytimes.com/2021/10/16/world/americas/alex-saab-arrest-venezuela-

  maduro.html. Indeed, counsel for SAAB MORAN noted this significant interest in its Motion to

  Enforce Rule 53 and to Limit Zoom Access. DE 59. SAAB MORAN noted that “over three

  hundred persons signed into the Court’s Zoom link to observe” his initial appearance and that

  “[m]any or perhaps most of them were members of the press covering Mr. Saab’s case.” Id. at 1.

  In his motion, counsel for SAAB MORAN requested that the Court refer the violators to the United

  States Attorney for investigation and enforcement       Id. at 9. As a result of the motion and the

  United States’ response, the Court referred to the United States Attorney’s Office for the Southern

  District of Florida those individuals identified in the motion for an investigation into their alleged



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  willful violations of the Court’s Order. Members of the press have also been present at both status

  conferences held by this Court.

         More than fifty years ago, warning of the danger of pretrial publicity to fair trials, the

  Supreme Court directed trial judges to take “such steps by rule and regulation that will protect their

  processes from prejudicial outside interferences. Neither prosecutors, counsel for defense, the

  accused, witnesses, court staff nor enforcement officers coming under the jurisdiction of the court

  should be permitted to frustrate its function.” Sheppard v. Maxwell, 384 U.S. 333, 363 (1966)

  (emphasis added).

         Local Rule 77.2 addresses the obligations of lawyers associated with the prosecution or

  defense regarding the release of information in criminal proceedings. Local Rule 77.2(a) requires

  lawyers “not to release or authorize the release of information or opinion which a reasonable person

  would expect to be disseminated by means of public communication, in connection with pending or

  imminent criminal litigation with which the lawyer or the firm is associated, if there is a reasonable

  likelihood that such dissemination will interfere with a fair trial or otherwise prejudice the due

  administration of justice.” Additionally, Local Rule 77.2(c) identifies specific subject matters that

  are prohibited:

                    From the time of arrest, issuance of an arrest warrant, or the filing of a complaint,
                    information, or indictment in any criminal matter until the commencement of trial
                    or disposition without trial, a lawyer or law firm associated with the prosecution
                    or defense shall not release or authorize the release of any extrajudicial statement
                    which a reasonable person would expect to be disseminated by means of public
                    communication, relating to that matter and concerning: (1) The prior criminal
                    record (including arrests, indictments, or other charges of crime), or the character
                    or reputation of the accused, except that the lawyer or law firm may make a
                    factual statement of the accused’s name, age, residence, occupation, and family
                    status, and if the accused has not been apprehended, a lawyer associated with the
                    prosecution may release any information necessary to aid apprehension or to warn
                    the public of any dangers the accused may present. (2) The existence or contents
                    of any confession, admission, or statement given by the accused, or the refusal or
                    failure of the accused to make any statement. (3) The performance of any
                    examinations or tests or the accused’s refusal or failure to submit to an

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                 examination or test. (4) The identity, testimony, or credibility of prospective
                 witnesses, except that the lawyer or law firm may announce the identity of the
                 victim if the announcement is not otherwise prohibited by law. (5) The possibility
                 of a plea of guilty to the offense charged or a lesser offense. (6) Any opinion as to
                 the accused’s guilt or innocence or as to the merits of the case or the evidence in
                 the case.

                 Local Rule 77.2(c).

         In light of the significant media interest in this case, the Government requests the Court

  issue an order reminding the parties of their obligations under Local Rule 77.2 and ensuring

  compliance with the Rule.

         SAAB MORAN has various counsel related to this matter. His current U.S. based counsel

  include, at least, Neil M. Schuster, Joseph Schuster, and the law firm of Baker & Hostetler LLP.

  The undersigned has conferred with these counsel for the SAAB MORAN and there is no objection

  to entry of the protective order sought.

         WHEREFORE the United States of America respectfully moves this Court to issue the

  proposed Protective Order.


                                 Respectfully submitted,

  JOSEPH S. BEEMSTERBOER                               JUAN ANTONIO GONZLEZ
  ACTING CHIEF, FRAUD SECTION                          UNITED STATES ATTORNEY

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